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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:22-cv-00669-PAB

   JOZSEF DARU,

          Plaintiff,

   v.

   HYATT CORPORATION
   d//b/a GRAND HYATT VAIL,

          Defendant.


                                      SCHEDULING ORDER


                            1. DATE OF CONFERENCE
                 AND APPEARANCES OF COUNSEL AND PRO SE PARTIES

          A Scheduling and Planning Conference is set for May 31, 2022, at 1:15p.m. in Courtroom

   A-501, Fifth Floor, Alfred J. Arraj United States Courthouse, 901 19th Street, Denver, Colorado.

   Counsel attending the scheduling conference are:

            Gary Martoccio                              Joseph W. Ozmer II
            Spielberger Law Group                       Gary E. Thomas
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            Tampa, Florida 33609                        171 17th Street, Suite 1550
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                                                        Attorneys for Defendant
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                               2. STATEMENT OF JURISDICTION

          This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 because plaintiff

   has brought claims under the Family and Medical Leave Act of 1990 (“FMLA”), 29 U.S.C. § 2601

   et seq., and the Americans with Disabilities Act of 1990 (“ADA”), 42 U.S.C. § 12101 et seq. All

   events that gave rise to the causes of action stated herein occurred within the District of Colorado.

                          3. STATEMENT OF CLAIMS AND DEFENSES

          a.      Plaintiff:

          On or about February 3, 2021, Plaintiff entered a treatment facility to seek treatment related

   to alcoholism. Plaintiff called Danielle Chavez, Human Resources, and requested to use sick time

   to cover his absences. On or about February 7, 2021, the treatment center sent Plaintiff to a local

   hospital’s emergency room, where Plaintiff was diagnosed with a kidney injury, acute cystitis, and

   hyponatremia. On or about February 8, 2021, Plaintiff’s wife, Jaqueline Daru, called Ms. Chavez

   and informed her that Plaintiff was in the hospital and would not have access to phone or email for

   the foreseeable future. Following this conversation with Plaintiff’s wife, knowing that Plaintiff did

   not have access to his phone or email, Ms. Chavez emailed Plaintiff on February 8, 2021, at 1:13pm

   indicating, “I do need to have a doctor’s note by 5PM today, otherwise in accordance with our

   hotel attendance policy, we are considering this voluntary resignation from your position.” The

   next day, Defendant terminated Plaintiff’s employment, despite having knowledge that he did not

   have access to phone or email and without allowing Plaintiff a reasonable period of time, as

   required by law, to submit documentation to support his absence.




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          b.      Defendant:

          Plaintiff was employed by Defendant Hyatt Corporation d/b/a Grand Hyatt Vail (“Hyatt”)

   in the position of Director of Engineering at the Grand Hyatt Vail (the “Hotel”) from in or about

   July 2019 until February 8, 2021. In 2020 and 2021, there were serious deficiencies in Plaintiff’s

   job performance that the Hotel’s General Manager, Dan Johnson, discussed with him. The

   deficiencies involved Plaintiff’s poor communication with the engineering staff and leaders at the

   Hotel, behavior that showed a lack of respect towards colleagues and vendors, and poor

   organization and follow-through. Further, in January 2021, significant additional deficiencies were

   discovered by an engineering task force member who observed dangerous conditions that Plaintiff

   allowed to exist within the Hotel’s central plant.

          Mr. Johnson met with Plaintiff on Friday, January 29, 2021, to discuss his deficient job

   performance. At that meeting, Plaintiff did not disclose he had any health problems that impaired

   his ability to do his job or that he needed time off work. Plaintiff acknowledged that he was failing

   in his job, had failed to comply with the established requirements to ensure the engineering

   department complied with Hyatt standards, was not communicating at the level expected of a

   senior manager, had not accepted administrative support that had been provided to him, and was

   not behaving in a manner consistent with Hyatt’s core values. By the end of the meeting, Mr.

   Johnson had serious doubts about whether Plaintiff’s performance could be improved, and he told

   Plaintiff he would think about whether Plaintiff could continue in his job. The next day (Saturday,

   January 30, 2021), Mr. Johnson concluded that Plaintiff’s performance failures justified terminating

   his employment. He then sent a follow-up email to Plaintiff stating they would have another




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   discussion on Monday, February 1, 2021. Mr. Johnson planned to convey his termination decision

   to Plaintiff at that time.

           However, on Monday, February 1 (the date set for the meeting), Plaintiff sent Mr. Johnson

   an email saying he did not feel well and would not be at work. Later in the day, Plaintiff sent a

   text message to Human Resources Director Danielle Chavez stating he was “still not good” and

   hoped to be better soon. On February 2, Plaintiff sent email and text messages saying he was still

   sick and would see his doctor the next day (Wednesday, February 3). Plaintiff then spoke by

   telephone with Ms. Chavez on February 3 and told her that he was in his doctor’s office and might

   return to work on Thursday, February 4. None of Plaintiff’s communications disclosed the nature

   of his illness or suggested he had a condition that substantially limited a major life activity.

           Plaintiff did not report to work on Thursday, February 4. When contacted about his

   absence, he sent an email that said he was getting a doctor’s note but did not provide any

   information to explain his absence or his condition. The Hotel did not receive a doctor’s note and

   Plaintiff did not respond to Mr. Johnson’s follow-up telephone message.

           Plaintiff was scheduled to work on Friday, February 5, but again failed to show up for work

   and failed to report that he would be absent. Mr. Johnson sent Plaintiff an email asking about his

   status and reminding him of his responsibility to alert the Hotel if he was not coming to work.

   Plaintiff did not respond to the email or provide a doctor’s note. On Saturday, February 6, Plaintiff

   again failed to show up for work and failed to communicate with the Hotel.

           Plaintiff was next scheduled to work on Monday, February 8. He again failed to show up

   for work and failed to communicate with the Hotel. Accordingly, Ms. Chavez sent Plaintiff an

   email stating his conduct on February 5, 6, and 8 violated the Hotel’s attendance policy because



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   he failed to come to work and failed to call in. She asked Plaintiff to provide a doctor’s note by

   the end of the day or his absences would be considered a voluntary resignation under Hyatt’s

   relevant attendance policy. Plaintiff did not respond to Ms. Chavez. Consequently, on Tuesday,

   February 9, Ms. Chavez sent Plaintiff an email stating that the Hotel was treating his conduct as a

   voluntary resignation. Ms. Chavez also sent, by U.S. certified mail and separate overnight

   delivery, a formal letter of termination dated February 9, 2021 advising Plaintiff that, per the

   Hotel’s attendance policy, his employment was separated as a voluntary resignation for failing to

   report to work without calling for two (2) consecutive shifts.

           Hyatt did not interfere in any way with the exercise of Plaintiff’s rights under the FMLA

   or retaliate against him in violation of the FMLA. Similarly, Hyatt did not discriminate or retaliate

   against Plaintiff based on any alleged or perceived disability in violation of the ADA. Any and all

   actions taken with regard to Plaintiff’s employment relationship with Hyatt were based solely upon

   legitimate, non-discriminatory, non-retaliatory factors, were fully justified, and were not contrary

   to any federal anti-discrimination statutes or otherwise unlawful. Hyatt denies any wrongdoing

   and denies that Plaintiff is entitled to any relief against it whatsoever.

                                        4. UNDISPUTED FACTS

   The following facts are undisputed:

           1.      Plaintiff Jozsef Daru was employed by Hyatt Corporation from in or about July

   2019 through on or about February 9, 2021.

           2.      Plaintiff was separated from his employment with Hyatt Corporation on or about

   February 9, 2021.




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                                5. COMPUTATION OF DAMAGES

          a.      Plaintiff:

          Plaintiff was out of work for approximately three months (approximately $37,500 in back

   pay). Plaintiff’s annual earnings are approximately $20,000 less than his annual earnings while

   employed by Defendant. Back pay ($37,500) plus the loss in annual earnings for one year ($20,000

   and mounting) is equal to $57,500 in lost wage damage and mounting, plus interest. Compensatory

   and punitive damages are equal to approximately $300,000 each ($600,000 total), and Plaintiff’s

   attorney’s fees are $15,000 and will mount as the case progresses. Plaintiff’s total damages at this

   time are $672,500 and mounting, plus interest.

          b.      Defendant: None.

    6. REPORT OF PRECONFERENCE DISCOVERY AND MEETING UNDER FED. R.
                             CIV. P. 26(F)

          a.      Date of Rule 26(f) meeting:

                  May 11, 2022.

          b.      Names of each participant and party he/she represented:

                  Gary Martoccio for Plaintiff; Gary E. Thomas for Defendant.

          c.      Statement as to when Rule 26(a)(1) disclosures were made or will be made:

                  Such disclosures will be made on or before Wednesday, May 25, 2022.

          d.      Proposed changes, if any, in timing or requirement of disclosures under Fed. R.

                  Civ. P. 26(a)(1):

                  None.

          e.      Statement concerning any agreements to conduct informal discovery:

                  None.


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          f.      Statement concerning any other agreements or procedures to reduce discovery and

                  other litigation costs, including the use of a unified exhibit numbering system:

                  The parties agree to use a unified numbering system for deposition exhibits. The

                  parties also agree, to the extent possible, to exchange discovery and exhibits

                  electronically, in PDF form, and to Bates-number all documents produced. The

                  parties have not made any other agreements regarding procedures to reduce

                  discovery or other litigation costs but have agreed to consider options for such

                  procedures as the case progresses.

          g.      Statement as to whether the parties anticipate that their claims or defenses will

                  involve extensive electronically stored information, or that a substantial amount of

                  disclosure or discovery will involve information or records maintained in electronic

                  form.

                  The parties believe there will be some electronic discovery, but they do not

                  anticipate it will be extensive. Accordingly, the parties do not see a need for an

                  electronically stored information discovery plan.

          h.      Statement summarizing the parties’ discussions regarding the possibilities for

                  promptly settling or resolving the case.

                  The parties are willing to conduct settlement discussions as appropriate. The parties

                  believe they should first take some discovery to better assess their respective

                  positions.

                                            7. CONSENT

   All parties ☐ [have] ☒ [have not] consented to the exercise of jurisdiction of a magistrate judge.



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                                   8. DISCOVERY LIMITATIONS

          a.     Modifications which any party proposes to the presumptive numbers of depositions

                 or interrogatories contained in the Federal Rules.

                 Each party may take up to five (5) depositions, exclusive of specially retained

                 expert witnesses, and serve up to 25 interrogatories, including subparts.

          b.     Limitations which any party proposes on the length of depositions.

                 Depositions shall not exceed seven (7) hours, without prior agreement or absent

                 leave of court.

          c.     Limitations which any party proposes on the number of requests for production

                 and/or requests for admission.

                 Without leave of court, each side shall be limited to 25 requests for production and

                 25 requests for admissions, including subparts, except that there shall be no limit

                 on the number of requests for admission of the authenticity of a document or other

                 exhibit.

          d.     Deadline for service of Interrogatories, Requests for Production of Documents

                 and/or Admissions.

                 The parties propose that all written discovery be served not later than thirty-three

                 (33) days before the close of discovery.

          e.     Other Planning or Discovery Orders.

          Motions to compel shall be filed not later than the discovery cutoff. Before filing a motion

   for an order relating to a discovery dispute, the movant must request a conference with the Court

   by submitting an email, copied to all parties, to hegarty_chambers@cod.uscourts.gov. See Fed. R.



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   Civ. P. 16, cmt. 2015 Amend. The Court will determine at the conference whether to grant the

   movant leave to file the motion.

                                 9. CASE PLAN AND SCHEDULE

          a.      Deadline for Joinder of Parties and Amendment of Pleadings: June 15, 2022.

          b.      Discovery Cut-off: December 30, 2022.

          c.      Dispositive Motion Deadline: January 30, 2023.

          d.      Expert Witness Disclosure: August 30, 2022.

                  1.     The parties anticipate that experts will be necessary to testify regarding:

                         Plaintiff: Economist Expert.

                         Defendant: Economist Expert.

                  2.     The parties stipulate that each side shall be limited to one (1) retained expert

          witnesses.

                  3.     The parties shall designate all experts and provide opposing counsel and

          any pro se parties with all information specified in Fed. R. Civ. P. 26(a)(2) on or before

          August 30, 2022.

                  4.     The parties shall designate all rebuttal experts and provide opposing counsel

          and any pro se parties with all information specified in Fed. R. Civ. P. 26(a)(2) on or before

          October 14, 2022.

          e.      Identification of Persons to Be Deposed:

                  1.     Plaintiff: At this time Plaintiff anticipates deposing Danielle Chavez.

                  2.     Defendant: At this time, Defendant anticipates deposing: Plaintiff Jozsef

                  Daru and Jacqueline Daru.



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              The parties reserve their right to depose other witnesses as discovery progresses.

              The parties need not move to amend this scheduling order to depose persons not

              identified in the above lists, provided that the parties adhere to the limits on the

              number of depositions set forth in § 8(a) above.

                      10. DATES FOR FURTHER CONFERENCES

         a.   Status conferences will be held in this case at the following dates and times:

              _______________________________________________________________

         b.   A final pretrial conference will be held in this case on ____________ at _____

              o’clock __ m. A Final Pretrial Order shall be prepared by the parties and

              submitted to the court no later than seven (7) days before the final pretrial

              conference.

                            11. OTHER SCHEDULING MATTERS

         a.   Identify those discovery or scheduling issues, if any, on which counsel after a good

              faith effort, were unable to reach an agreement.

              None.

         b.   Anticipated length of trial and whether trial is to the court or jury.

              The parties anticipate a jury trial of four (4) days.

         c.   Identify pretrial proceedings, if any, that the parties believe may be more efficiently

              or economically conducted in the District Court’s facilities at 212 N. Wahsatch

              Street, Colorado Springs, Colorado 80903-3476; Wayne Aspinall U.S.

              Courthouse/Federal Building, 402 Rood Avenue, Grand Junction, Colorado 81501-




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                  2520; or the U.S. Courthouse/Federal Building 103 Sheppard Drive, Durango,

                  Colorado 81303-3439.

                  None.

                       12. NOTICE TO COUNSEL AND PRO SE PARTIES

           The parties filing motions for extension of time or continuances must comply with

   D.C.COLO.LCivR 6.1(d) by submitting proof that a copy of the motion has been served upon the

   moving attorney’s client, all attorneys of record, and all pro se parties.

           Counsel will be expected to be familiar and to comply with the Pretrial and Trial

   Procedures or Practice Standards established by the judicial officer presiding over the trial of this

   case.

           With respect to discovery disputes, parties must comply with D.C.COLO.LCivR 7.1(a).

           Counsel and unrepresented parties are reminded that any change of contact information

   must be reported and filed with the Court pursuant to the applicable local rule.

                          13. AMENDMENTS TO SCHEDULING ORDER

           The Scheduling Order may be altered or amended only upon a showing of good cause.


           DATED at Denver, Colorado, this ____ day of ________, 2022.



                                                  BY THE COURT:



                                                  United States Magistrate Judge




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   APPROVED:

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